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                               UNITED STATE DISTRICT COURT
                          FOR THE NORTI{ERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

beverly-ann jones-young, Narneholder of
fictitious Name BEVERLY ANN YOUNG
STATE OF MISSOURI REGISTRATION
NUMBER X001319462

                          Plaintiff
               v.
                                                      18cv3945
                                                      Judge Charles R. Norgle,
WELLS FARGO BANK, N.A. AND
                                                      Magishate Judge Sidney l. Sctrenkier
JAMES R. SHREWSBERRY; ANSELMO
LINDBERG & ASSOCIATE LLC;
GOVERNMENT NATIONAL
MORTGAGE ASSOCIATION AS
TRUSTEE FOR SECURITIZED TRUST
GINNIE MAE REMIC TRUST 2OI2-129;
MORTGAGE ELECTRONIC
REGISTRATION SYSTEM AKA
O'MERS"


                          Defendants.

                                          APPEARANCE

An appearance is hereby filed by the undersigned as a pro se litigant:

                                        beverly-ann j ones-young
                                        c/o 1905 E.l72"d Street
                                        South Holland, Illinois 160473)
                                        708 s60-3698



 b.Vnt/n- q^ 4 I \DncJ- JJ
                        u4D-,C                                  5 urt"- 6, z>t     {
                                                              Executed on (date)



               FILED
            fc-     JUN   06   2010

             THOMAS G. BRI,TON
          CLERK U.S. DISTRICT COI,RT
